                                   3:14-cv-03199-MMM-TSH # 90          Page 1 of 1
                                                                                                           E-FILED
Judgment in a Civil Case (02/11)                                           Wednesday, 27 March, 2019 10:29:33 AM
                                                                                    Clerk, U.S. District Court, ILCD
                             UNITED STATES DISTRICT COURT
                                                     for the
                                            Central District of Illinois

Monica Lynn Barry                                    )
                                                     )
                    Plaintiff,                       )
                                                     )
                               vs.                   )        Case Number: 14-CV-3199
                                                     )
Illinois Department of Corrections                   )
                                                     )
                    Defendant.                       )

                                   AMENDED JUDGMENT IN A CIVIL CASE

       JURY VERDICT. This action came before the Court for a trial by jury.                  The issues
have been tried and the jury has rendered its verdict.

         IT IS ORDERED AND ADJUDGED that:

As to the Plaintiff’s claim of disability discrimination under the ADA against Defendant, the
Jury finds in favor of the Plaintiff, Monica Lynn Barry and against the Defendant, Illinois
Department of Corrections and awards Plaintiff $150,000 in compensatory damages for
mental/emotional pain and suffering.


       DECISION BY THE COURT.                      This action came before the Court, and a decision has
been rendered.

         IT IS ORDERED AND ADJUDGED that:

The Plaintiff is entitled to $159,970 in back pay, $134,853 in front pay, $9,563.96 and
$7,713.90 in other benefits, and $8,798.39 in prejudgment interest. This fully satisfies the
Plaintiff’s claim for damages.

         IT IS FURTHER ORDERED AND ADJUDGED that:

The Plaintiff is entitled to $81,281.25 in attorney fees and $1,447.05 in costs.

Dated: 3/27/2019



                                                              s/ Shig Yasunaga
                                                              Shig Yasunaga
                                                              Clerk, U.S. District Court
